Case 17-58177-jrs     Doc 58 Filed
                      UNITED       09/09/19
                              STATES        Entered 09/09/19
                                        BANKRUPTCY    COURT  09:07:30               Desc Main
                              Document Page 1 of 3
                        NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                             )   CHAPTER 13
DEBRA REITER ISBITTS                               )   CASE NUMBER A17-58177-JRS
MARK GERALD ISBITTS                                )
   DEBTORS                                         )



                                   MOTION TO DISMISS
    COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
respectfully shows the Court as follows:

                                             1.

   Debtors filed a petition for relief under Chapter 13 of Title 11.
                                              2.

    The Debtors' case should have completed prior to this point. The Debtors have failed to
tender the final payments. The amount required to complete all plan payments is approximately
$11220.25.

    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtors
propose a modification to meet the requirements of the confirmed plan that ensures that the plan
is completed within the allowable time.

This the 9th day of September, 2019.


 /s/________________________________________
   Maria C. Joyner
   Attorney for the Chapter 13 Trustee
   State Bar No. 118350
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                           )    CHAPTER 13
DEBRA REITER ISBITTS                             )    CASE NUMBER A17-58177-JRS
MARK GERALD ISBITTS                              )
   DEBTORS                                       )




                NOTICE OF HEARING ON MOTION TO DISMISS CASE

PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
exhibits with the Court seeking an Order of Dismissal.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on October 08, 2019 at
9:30 am in Courtroom 1404, Richard Russell Building, 75 Ted Turner Drive, S.W.,
Atlanta, GA. 30303.

Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
the dismissal of your case. You should read this motion carefully and discuss it with your
attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
and/or your attorney must attend the hearing unless you have settled the matter prior to the
hearing.


This the 9th day of September, 2019.


/s/________________________________________
  Maria C. Joyner
  Attorney for the Chapter 13 Trustee
  State Bar No. 118350
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
Case 17-58177-jrs      Doc 58    Filed 09/09/19 Entered 09/09/19 09:07:30             Desc Main
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                                CERTIFICATE        3 of 3
                                               OF SERVICE
Case No: A17-58177-JRS

I certify that on this day I caused a copy of this Chapter 13 Trustee's Motion to Dismiss to be
served via United Staes First Class Mail with adequate postage prepaid on the following parties
at the address shown for each:




DEBRA REITER ISBITTS
MARK GERALD ISBITTS
1704 MILLHOUSE RUN
MARIETTA, GA 30066-8033



I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program, which sends
a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

SLIPAKOFF & SLOMKA, PC




This the 9th day of September, 2019.


/s/____________________________________
  Maria C. Joyner
  Attorney for the Chapter 13 Trustee
  State Bar No. 118350
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
